Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                VFX Foam, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Themeland Studios
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  720 East Fair Haven Ave.
                                  200 East Washington Ave., Suite 120                             P.O. Box 18
                                  Burlington, WA 98233                                            Burlington, WA 98233
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Skagit                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    VFX Foam, LLC                                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3399

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 24-11086-CMA                      Doc 1      Filed 04/30/24              Ent. 04/30/24 22:05:46                    Pg. 2 of 12
Debtor    VFX Foam, LLC                                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 24-11086-CMA                            Doc 1      Filed 04/30/24             Ent. 04/30/24 22:05:46                  Pg. 3 of 12
Debtor   VFX Foam, LLC                                                            Case number (if known)
         Name

                           $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 24-11086-CMA        Doc 1       Filed 04/30/24         Ent. 04/30/24 22:05:46            Pg. 4 of 12
Debtor    VFX Foam, LLC                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 30, 2024
                                                  MM / DD / YYYY


                             X /s/ Richard O'Connor, III                                                  Richard O'Connor, III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Owner




18. Signature of attorney    X /s/ Jennifer L. Neeleman                                                    Date April 30, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jennifer L. Neeleman 37374
                                 Printed name

                                 Neeleman Law Group, P.C.
                                 Firm name

                                 1403 8th Street
                                 Marysville, WA 98270
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (425) 212-4800                Email address      courtmail@expresslaw.com

                                 37374 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 24-11086-CMA                  Doc 1        Filed 04/30/24             Ent. 04/30/24 22:05:46                 Pg. 5 of 12
 Fill in this information to identify the case:
 Debtor name VFX Foam, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Airfoam Industries                                  Supplier                                                                                                    $17,548.00
 3075 14th Ave.,
 Suite 216
 Markham, ON L3R
 0G9
 AMEX                                                Credit Card                                                                                                   $8,000.00
 P.O. Box 96001
 Los Angeles, CA
 90096
 Citicard                                            Credit Card                                                                                                   $5,700.00
 P.O. Box 9001037
 Louisville, KY
 40290-1037
 Employment                                          Taxes                                                                                                       $54,578.00
 Security Dept
 P.O. Box 9046
 Olympia, WA 98507
 FMI EPS                                                                                                                                                         $20,625.00
 9456 North McGuire
 Rd.
 Post Falls, ID 83854
 Global Financial                                    Loan                                                                                                        $46,620.00
 9747 Business Park
 Ave.
 San Diego, CA
 92131
 Intuit Charge                                       Loan                                                                                                        $16,234.00
 c/o Credit
 International Corp.
 P.O. Box 1268
 Bothell, WA 98041
 IRS                                                 Taxes                                                                                                     $363,921.00
 Centralized
 Insolvency
 P.O. Box 7346
 Philadelphia, PA
 19101-7346


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    VFX Foam, LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Old Dominion                                        Shipping                                                                                                    $32,862.22
 Freight Line
 c/o Benjamin Kelly
 9218 Roosevelt Way
 NE
 Seattle, WA 98115
 PPG Architecture                                    Services Provided                                                                                             $4,968.00
 Finishes
 400 Bertha Lamme
 Drive
 Cranberry Twp, PA
 16066
 Rhino Lining                                        Vendor                                                                                                      $18,627.00
 9747 Business Park
 Ave.
 San Diego, CA
 92131
 SBA                                                 Loan                                                                                                      $130,000.00
 Seattle District
 Office
 2401 Fourth Ave,
 Suite 450
 Seattle, WA 98121
 Scott Douglas                                       Rent Due - Prior                                                                                            $46,620.00
 Prima Materia                                       Location
 Property Mngmt
 911 Chuckanut
 Shore Rd.
 Bellingham, WA
 98229
 Spring Funding                                      Loan                                                                                                        $60,000.00
 205 Rockaway Ave.
 PMB 3025
 Valley Stream, NY
 11580
 Sprinter/ American                                  Loan                                                                                                        $20,000.00
 Recovery
 555 St. Charles
 Drive, Ste 100
 Thousand Oaks, CA
 91360
 Sterling Hill National                              Past Due Rent                                                                                             $137,000.00
 1500 East College
 Way
 PMB 276
 Mount Vernon, WA
 98273
 W3 Global                                                                                                                                                       $12,000.00
 1701 Legacy Drive,
 #1000
 Frisco, TX 75034



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




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 Debtor    VFX Foam, LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 WA Dept of L & I                                    Taxes                                                                                                       $10,000.00
 PO Box 44000
 Olympia, WA
 98504-4000




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




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                        AIRFOAM INDUSTRIES
                        3075 14TH AVE., SUITE 216
                        MARKHAM, ON L3R 0G9


                        AMEX
                        P.O. BOX 96001
                        LOS ANGELES, CA 90096


                        ATTORNEY GENERAL FOR WA STATE
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 FIFTH AVE, 20TH FLOOR
                        SEATTLE, WA 98104


                        CITICARD
                        P.O. BOX 9001037
                        LOUISVILLE, KY 40290-1037


                        EMPLOYMENT SECURITY DEPT
                        P.O. BOX 9046
                        OLYMPIA, WA 98507


                        FMI EPS
                        9456 NORTH MCGUIRE RD.
                        POST FALLS, ID 83854


                        GLOBAL FINANCIAL
                        9747 BUSINESS PARK AVE.
                        SAN DIEGO, CA 92131


                        INTUIT CHARGE
                        C/O CREDIT INTERNATIONAL CORP.
                        P.O. BOX 1268
                        BOTHELL, WA 98041


                        IRS
                        CENTRALIZED INSOLVENCY
                        P.O. BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        OLD DOMINION FREIGHT LINE
                        C/O BENJAMIN KELLY
                        9218 ROOSEVELT WAY NE
                        SEATTLE, WA 98115




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                    PPG ARCHITECTURE FINISHES
                    400 BERTHA LAMME DRIVE
                    CRANBERRY TWP, PA 16066


                    RHINO LINING
                    9747 BUSINESS PARK AVE.
                    SAN DIEGO, CA 92131


                    RICK O'CONNOR, III
                    2240 FERNDALE TERRACE
                    FERNDALE, WA 98248


                    SBA
                    SEATTLE DISTRICT OFFICE
                    2401 FOURTH AVE, SUITE 450
                    SEATTLE, WA 98121


                    SCOTT DOUGLAS
                    PRIMA MATERIA PROPERTY MNGMT
                    911 CHUCKANUT SHORE RD.
                    BELLINGHAM, WA 98229


                    SPRING FUNDING
                    205 ROCKAWAY AVE.
                    PMB 3025
                    VALLEY STREAM, NY 11580


                    SPRINTER/ AMERICAN RECOVERY
                    555 ST. CHARLES DRIVE, STE 100
                    THOUSAND OAKS, CA 91360


                    STERLING HILL NATIONAL
                    1500 EAST COLLEGE WAY
                    PMB 276
                    MOUNT VERNON, WA 98273


                    UNITED STATES ATTORNEYS OFFICE
                    ATTN: BANKRUPTCY ASSISTANT
                    700 STEWART STREET, ROOM 5220
                    SEATTLE, WA 98101


                    W3 GLOBAL
                    1701 LEGACY DRIVE, #1000
                    FRISCO, TX 75034




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                    WA DEPT OF L & I
                    PO BOX 44000
                    OLYMPIA, WA 98504-4000


                    WA DEPT OF REVENUE
                    1904 HUMBOLDT ST, STE A
                    BELLINGHAM, WA 98225




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                                         United States Bankruptcy Court
                                             Western District of Washington
 In re   VFX Foam, LLC                                                                Case No.
                                                             Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for VFX Foam, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 30, 2024                                  /s/ Jennifer L. Neeleman
Date                                            Jennifer L. Neeleman 37374
                                                Signature of Attorney or Litigant
                                                Counsel for VFX Foam, LLC
                                                Neeleman Law Group, P.C.
                                                1403 8th Street
                                                Marysville, WA 98270
                                                (425) 212-4800 Fax:(425) 212-4802
                                                courtmail@expresslaw.com




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